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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                    2211 United States Courthouse
                                        75 Ted Turner Dr, SW
                                     Atlanta, Georgia 30303-3361
Kevin P. Weimer                                                                     Admin Section
DCE/Clerk of Court                            July 24, 2024                        404-215-1600


Re: 4:24-cv-00181-WMR
Sluder et al v. Phillips et al

Sam Harton,

         You are listed as counsel in the subject case, but you do not appear to be admitted to the Northern
District of Georgia. N.D. Ga. Local Rule 83.1 requires attorneys who appear in this Court to be members
of its bar if the attorney is an active member in good standing of the State Bar of Georgia and resides in
the district. Attorneys who are not members of the State Bar of Georgia or attorneys who are active
members in good standing of the State Bar of Georgia but do not reside in this district must be admitted
pro hac vice in order to appear.

        Attorneys applying for full admission to the bar of this Court must initiate the process through
PACER at www.pacer.gov. Attorneys applying for admission pro hac vice must complete the form on our
website and have local counsel file the application electronically in the case in which they wish to appear.

        Please visit the “For Attorneys” tab on the Court’s website at www.gand.uscourts.gov for more
detailed information regarding admission requirements and procedures. Once you are admitted to the bar
of this Court, you will be permitted to file pleadings electronically, as provided by Local Rule 5.1 and
Appendix H to the Local Rules.

        Your application for full admission or for admission pro hac vice must be received within 10
days of this notice. At the expiration of the 10-day time limit, the status of your admission will be brought
to the attention of the assigned judge. If you decide not to apply, you must either (1) file a motion to
withdraw and identify therein the attorney who will represent the party or (2) file a notice of substitution
of counsel. This is the only notice you will receive. Please direct any questions to 404-215-1600.


                                                          KEVIN P. WEIMER
                                                          DCE/CLERK OF COURT

                                                          By: s/Courtney Pollard _______________
                                                              Deputy Clerk
                                                                                          Revised 2023.05.23
